                                    UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
Name of Debtor:                                                           Case No.
Truong Duy Ngo                                                            17-50259




                                                 CHAPTER 13 PLAN

YOU WILL BE NOTIFIED OF THE DATE, TIME, AND LOCATION OF A HEARING TO CONFIRM THIS PLAN
   AND OF THE DEADLINE TO OBJECT TO ITS CONFIRMATION. IN THE ABSENCE OF A TIMELY
    WRITTEN OBJECTION, THIS PLAN MAY BE CONFIRMED. IT WILL BE EFFECTIVE UPON ITS
                                     CONFIRMATION.

                                      Section 1. Plan Payments and Plan Duration

1.01    Plan payments. To complete this plan, Debtor shall:

        a. Pay to Trustee $150.00 per month for 12 months from the following sources: (describe, such as
           wages, rental income, etc.): Disability income and/or wages_______________________. Debtor shall after
           12 months, increase the monthly payment to $200 for 12 months; $550 X 12 months; $800 X 12 months; and
           $1175 X 12 months.

        b. In addition to the foregoing monthly payments, pay to Trustee $___________ from the following sources on
           the dates indicated:
           Date(s):__________________________________________________________________________
           Source(s):________________________________________________________________________

        c. The monthly plan payments will continue for 60 months unless all allowed unsecured claims are fully paid
           within a shorter period of time. This plan cannot propose monthly payments beyond 60 months.


                                            Section 2. Claims and Expenses

2.01. With the exception of any post-petition direct payments to be made by Debtor, the payments required by Sections
2.04, 2.05, 2.07, 2.08, 2.10 and 3.01 will not be made pursuant to this plan unless a timely proof of claim is filed by or on
behalf of a creditor, including a secured creditor.

2.02. The proof of claim, not this plan or the schedules, shall determine the amount and classification of a claim unless
the court’s order on a claim objection, valuation motion, lien avoidance motion, or adversary proceeding judgment affects
the amount or classification of a claim.

2.03. Trustee’s fees shall be paid pursuant to 28 U.S.C. §586(e). Compensation due a former chapter 7 trustee shall be
paid pursuant to 11 U.S.C. §1326(b)(3)(B). Debtor’s attorney of record was paid $0 before the Chapter 13 case was filed.
By separate order or in accordance with applicable Guidelines, after confirmation, debtor’s attorney shall be paid
additional fees of $0 through this plan at the rate of $0 per month until paid in full.

Secured Claims

2.04. Class 1: All delinquent secured claims that are not modified by this plan. Class 1 claims are delinquent and
other than the curing of any arrears, are not modified by this plan. Debtor or a third party (________) shall directly make
all post-petition payments on Class 1 claims.

        a. Cure of arrears. Trustee shall pay in full all allowed pre-petition arrears on Class 1 claims.

        b. Application of payments. The arrearage payment may include interest. If the provision for interest is left
           blank, interest will not accrue. The arrearage payment must be applied to the arrears. If this plan provides for
           interest on arrears, the arrearage payment shall be applied first to such interest, then to arrears.




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                   Class 1 Creditor’s Name/              Amount of Arrears      Interest    Fixed Arrearage         Payment Start Date
                    Collateral Description                                      Rate on         Payment             (Start date will be a
                                                                              Arrears (0%                          specific month during
                                                                                 unless                                   the plan)
                                                                               otherwise
                                                                                 stated)

1. N/A


2.
3.




2.05.         Class 2: All secured claims that are modified by this plan.

              a. Payment of claim. Trustee shall satisfy each Class 2 claim by paying the amount specified below as the
                 monthly payment. Subject to Section 2.05(c), Class 2 claims will be paid in full. The payment of a Class 2
                 claim shall not include interest unless otherwise specified. If Debtor does not intend to satisfy a Class 2 claim
                 by periodic payments, Debtor shall check this box [ ] and provide for this claim in Additional Provisions.

              b. Adequate protection payments. Before confirmation, Trustee shall pay each allowed Class 2 claim secured
                 by a purchase money security interest in personal property an adequate protection payment as required by 11
                 U.S.C. §1326(a)(1)(C). As required by 11 U.S.C. §1325(a)(5)(B)(iii), equal monthly payments must be no less
                 than the adequate protection payment.

              c. Claim amount. The amount of a Class 2 claim is determined by applicable nonbankruptcy law. If applicable
                 bankruptcy law authorizes a debtor to reduce a secured claim, Debtor may reduce the claim to the value of
                 the collateral securing it by filing, serving, and prevailing on a motion or adversary proceeding to determine
                 the value of that collateral. If this plan proposes to reduce a claim based upon the value of collateral, Debtor
                 shall file this motion or adversary proceeding and have it decided before plan confirmation.

              d. Lien retention. Each Class 2 creditor shall retain its existing lien as permitted under applicable bankruptcy
                 law.

 Class 2 Creditor’s Name/Collateral Description          Purchase Money          Estimated           Interest         Monthly Payment
 (No Reduction in Collateral Value)                     Interest - Personal    Amount of Claim      Rate (0%
                                                             Property?                                unless
                                                                Y/N                                 otherwise
                                                                                                      stated)

 1. N/A

 2.



     Class 2 Creditor’s Name/Collateral Description
     (Reduction in Collateral Value)                  Reduced Value of                      Interest                  Monthly Payment
                                                      Collateral               Rate (0% unless otherwise stated)

     1. N/A

     2.




2.06. Class 3: All secured claims for which the collateral is being surrendered. Upon confirmation of this plan, the
automatic stay is modified to allow a Class 3 secured claim holder to exercise its rights against its collateral.

                     Class 3 Creditor’s Name                                                Collateral to be Surrendered

     1. N/A

     2.



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2.07. Class 4: All other non-delinquent secured claims. Class 4 claims are not delinquent and are not modified by
this plan. Debtor or a third party (________) shall directly make all post-petition payments on Class 4 claims.

                                                                                                       Monthly Contract Installment
                       Class 4 Creditor’s Name/Collateral Description

  1. N/A

  2.

  3.



2.08. The deed of trust with Shellpoint Mortgage Servicing (“Creditor”) encumbers real property located at 2778
Scottsdale Drive, San Jose, CA 95148, securing a loan that is the subject of a loan modification application (the
“Application”). The monthly payment listed below represents the projected payment under the Application, and may not
be the payment when the Application is approved or denied. Notwithstanding Section 2.04, and except as otherwise
provided in this plan, Trustee will not pay any pre-petition arrears claimed by Creditor while the Application is proposed or
pending.


           a. If Creditor approves the Application, the monthly payment Debtor shall directly make will be the amount
              approved by Creditor.

           b. If the approved Application changes the amount of arrears that otherwise would be paid under Section 2.04,
              alters any plan payment to be made to Trustee, or adversely affects the amount to be paid to claimants in
              Section 2.12, Debtor shall file an amended plan reflecting such changes within 14 days of receipt of written
              notification of approval of the Application.

           c. If Creditor denies the Application, Debtor shall, within 14 days of receipt of written notification of denial of the
              Application, file an amended plan providing for appropriate treatment of pre-petition and post-petition arrears
              or surrender of the property.

           d. If Debtor fails timely to file an amended plan, Debtor shall be deemed to be in material default under this plan
              and the remedies described in Section 4.02 shall be available to Trustee or Creditor.

           Class 4 Creditor’s Name/Collateral Description               Monthly Contract Installment              Monthly Modification
                                                                                                                      Installment

 1. N/A

 2.

 3.


2.09. Secured claims not listed as Class 1, 2, 3, or 4 claims are not provided for by this plan, and Trustee shall not
make any disbursements on such claims. The failure to provide for a secured claim in one of these classes may be cause
to terminate the automatic stay as to that claim holder.

Unsecured Claims

2.10. Class 5: Unsecured claims entitled to priority pursuant to 11 U.S.C. §507. Trustee shall pay in full Class 5
claims, whether or not listed below, unless a claim holder agrees to accept less or 11 U.S.C. §1322(a)(4) is applicable. If
11 U.S.C. §1322(a)(4) applies, the claim holder and the treatment of the claim shall be specified in the Additional
Provisions. Notwithstanding any other provision in this plan, Debtor shall directly pay all domestic support obligations and
all loan payments to a retirement or thrift savings plan that are due and payable post-petition, regardless of whether this
plan is confirmed or a proof of claim is filed.

                        Class 5 Creditor’s Name                                 Type of Priority                 Estimated Claim Amount
 1. N/A

 2.

 3.

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2.11. Class 6: Designated unsecured claims that will be paid in full even though all other nonpriority unsecured
claims may not be paid in full.

          Class 6 Creditor’s Name                         Reason for Special Treatment                      Estimated Claim Amount


 1. Navient                                Student loan                                                                       $30,447
 2.
 3.


2.12. Class 7: All other unsecured claims. These claims, including the unsecured portion of secured recourse claims
not entitled to priority, total approximately $36,130 . The funds remaining after disbursements have been made to pay all
administrative expense claims and other creditors provided for in this plan are to be distributed on a pro-rata basis to
Class 7 claimants.
[select one of the following options:]

         __X__ Percent Plan. Class 7 claimants will receive no less than 0% of their allowed claims through this plan.

         ____     Pot Plan. Class 7 claimants are expected to receive __% of their allowed claims through this plan.


                                    Section 3. Executory Contracts and Unexpired Leases

3.01. Debtor assumes the executory contracts and unexpired leases listed below. Debtor shall directly make all post-
petition payments to the other party to the executory contract or unexpired lease. Unless a different treatment is required
by 11 U.S.C. §365(b)(1) and is set out in the Additional Provisions, Trustee shall pay in full all pre-petition defaults.


Name of Other Party to         Description of             Regular Monthly            Pre-petition Default      Monthly Cure Payment
Executory Contract             Contract/Lease             Payment
Unexpired Lease

1. N/A

2.


3.02. Any executory contract or unexpired lease not listed in the table above is rejected. A proof of claim for any
rejection damages shall be filed by the later of the claims bar date or thirty days after confirmation of this plan. Upon
confirmation of this plan, the automatic stay is modified to allow the nondebtor party to a rejected, unexpired lease to
obtain possession of leased property, to dispose of it under applicable law, and to exercise its rights against any
nondebtor in the event of a default under applicable law or contract.


                                            Section 4. Miscellaneous Provisions

4.01.    Vesting of property. Property of the estate will revest in Debtor upon confirmation.

If Debtor does not want the property to revest, Debtor must check the following box:  SHALL NOT REVEST.

If the property of the estate does not revest in Debtor, Trustee is not required to file income tax returns for the estate,
insure any estate property or make any of Debtor’s ongoing, regular post-petition debt payments with the exception of
monthly cure payments otherwise required by this plan. Upon completion of this plan, all property shall revest in Debtor.

Notwithstanding the revesting of property in Debtor, the court will retain its supervisory role post-confirmation to enforce
Fed. R. Bankr. P. 3002.1 and provide any other relief necessary to effectuate this plan and the orderly administration of
this case.

After the property revests in Debtor, Debtor may sell, refinance or execute a loan modification regarding real or personal
property without further order of the court with the approval of Trustee.


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4.02. Remedies upon default. If Debtor defaults under this plan or does not complete this plan within 60 months,
Trustee, or any other party in interest may request appropriate relief pursuant to Local Bankruptcy Rules. This relief may
consist of, without limitation, dismissal of the case, conversion of the case to chapter 7, or relief from the automatic stay to
pursue rights against collateral. If the court terminates the automatic stay to permit a Class 1 or 2 secured claim holder or
a party to an executory contract or unexpired lease to proceed against its collateral, unless the court orders otherwise,
Trustee shall make no further payments on account of such secured claim, executory contract or unexpired lease claim,
and any portion of such secured claim not previously satisfied under this plan shall be treated as a Class 3 claim. Any
deficiency remaining after the creditor’s disposition of its collateral for which Debtor has personal liability shall be treated
as a Class 7 claim subject to the timely filing of a proof of claim.


4.03 Impermissible Provisions. Notwithstanding any other term in this plan, Debtor does not seek through the
confirmation and completion of this plan either a determination of the dischargeability of any debt or the discharge of any
debt that is non-dischargeable as a matter of law in a Chapter 13 case under 11 U.S.C. §1328.


                                             Section 5. Additional Provisions

This plan is the court’s standard plan form. Other than to insert text into designated spaces, expand tables to include
additional claims, or change the title to indicate the date of the plan or that the plan is a modified plan, the preprinted text
of this form has not been altered. If there is an alteration, it will be given no effect. The signatures below are certifications
that the standard plan form has not been altered.

Despite the foregoing, as long as consistent with the Bankruptcy Code, the Debtor may propose additional provisions that
modify the preprinted text. All additional provisions shall be on a separate piece of paper appended at the end of this
plan. Each additional provision shall be identified by a section number beginning with section 5.01and indicate which
section(s) of the standard plan form have been modified or affected.

Additional Provisions [choose one] are  are not       XX appended to this plan.

Dated: 2/8/2017                                             _/s/ Truong Duy Ngo______________________
                                                            Debtor


                                                            PlanDebtor


Dated: 2/8/2017                                             /s/ Teresa T. H. Nguyen-Hung
                                                            Debtor’s Attorney




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